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 1                                   IN THE UNITED STATES DISTRICT COURT

 2                         NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

 3   CALIFORNIA COALITION FOR WOMEN                         CASE NO. 4:23-CV-04155-YGR
     PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
 4   G.M.; A.S.; and L.T., individuals on behalf of
     themselves and all others similarly situated,
 5
                             Plaintiffs
 6                    v.

 7   UNITED STATES OF AMERICA FEDERAL
     BUREAU OF PRISONS, a governmental entity;
 8   BUREAU OF PRISONS DIRECTOR                                 DECLARATION OF DENNIS M. WONG
     COLETTE PETERS, in her official capacity;
 9   FCI DUBLIN WARDEN THAHESHA JUSINO,
     in her official capacity; OFFICER
10   BELLHOUSE, in his individual capacity;
     OFFICER GACAD, in his individual capacity;
11   OFFICER JONES, in his individual capacity;
     LIEUTENANT JONES, in her individual
12   capacity; OFFICER LEWIS, in his individual
     capacity; OFFICER NUNLEY, in his individual
13   capacity, OFFICER POOL, in his individual
     capacity, LIEUTENANT PUTNAM, in his
14   individual capacity; OFFICER SERRANO, in
     his individual capacity; OFFICER SHIRLEY, in
15   his individual capacity; OFFICER SMITH, in his
     individual capacity; and OFFICER VASQUEZ,
16   in her individual capacity,

17                          Defendants.

18 I, Dennis M. Wong, hereby declare as follows:

19       1. I am the Regional Counsel for the Western Region for the Federal Bureau of Prisons (“BOP”). I

20           have been in this position since 2012 and have worked as an attorney for the BOP since 1994.

21           As Regional Counsel, I oversee BOP legal offices that provide legal counsel to federal prisons in

22           the Western Region, by managing supervisory-level attorneys in the Western Region. My

23           responsibilities include managing resources to support my legal staff, providing legal guidance to

24           BOP staff, and providing litigation support to the U.S. Attorney’s Offices as needed. As part of

25           the litigation support process, I obtain and review applicable records and communicate with BOP

26           staff in order to prepare documents that will be used in litigation, such as a declaration.

27       2. I am familiar with, and have regular access to BOP records and databases, and routinely obtain

28           and review such records as part of my duties as Regional Counsel.

     DECLARATION OF DENNIS M. WONG
     4:23-CV-04155-YGR                                      1
              Case 4:23-cv-04155-YGR Document 175-2 Filed 02/23/24 Page 2 of 2



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21       I declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true and

22       correct. Executed this 23rd day of February 2024.

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24                                                        DENNIS M. WONG
25                                                        Regional Counsel

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     DECLARATION OF DENNIS M. WONG
     4:23-CV-04155-YGR                                    2
